                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:06cr167


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
MICHAEL DEAN CLARK (4)                   )
                                         )
________________________________________ )


       THIS MATTER is before the Court upon motion of the government to dismiss the

indictment against Michael Dean Clark only without prejudice, pursuant to Fed. R. Crim. P. 48(a).

(Doc. No. 54).

       IT IS THEREFORE ORDERED that the government is granted leave to dismiss the

indictment against Michael Dean Clark only without prejudice.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.

                                                  Signed: February 21, 2007




    Case 3:06-cr-00167-RJC-DCK             Document 55        Filed 02/21/07      Page 1 of 1
